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                           CONSENT TO JOIN AND AUTHORIZATION TO REPRESENT
                                    Pursuant to the Fair Labor Standards Act, 29 U.S.C. § 216(b)

                    1.       I consent and agree to pursue my claims under the Fair Labor Standards Act, 29 U.S.C.
            §§201, et seq. (“FLSA”) arising out of my work with Amazon.com, LLC, Amazon Logistics, Inc., Trinity
            Couriers and/or related entities and individuals (“Amazon/Trinity”).

                      2.                                                   11/17
                             I worked for Amazon/Trinity from on or about ___________________ (month, year) to
                        08/18
            on or about ___________________ (month, year). During this time, I worked for Amazon/Trinity in the
                                Ohio
            following state(s): ______________________________________________________.

                     3.     I understand that this lawsuit is brought under the FLSA. I hereby consent, agree, and
            “opt in” to become a plaintiff herein and to be bound by any judgment by the Court or any settlement of
            this action.

                   4.       I hereby designate Berger Montague PC, at 1818 Market Street, Suite 3600, Philadelphia,
            Pennsylvania 19103, and Willig, Williams & Davidson, at 1845 Walnut Street, Suite 2400, Philadelphia,
            PA 19103 (together “Plaintiff’s Counsel”), to represent me for all purposes in this action or any
            subsequent action against Amazon/Trinity.

                   5.        I also designate the named Plaintiff in this action, the collective action representative, as
            my agent to make decisions on my behalf concerning the litigation, including the method and manner of
            conducting this litigation, entering into settlement agreements, entering into an agreement with Plaintiff’s
            Counsel concerning attorneys’ fees and costs, and all other matters pertaining to this lawsuit.


            Signature:       _________________________________________________________________

            Date:            1/31/2019
                             _________________________________________________________________

            Name:            Michael Starks
                             _________________________________________________________________

            Address:

            Telephone:

            E-mail:                                          ___________________________________________


                                                  COMPLETE AND RETURN TO:
                                                    BERGER MONTAGUE PC
                                                       ATTN: Alex Grayson
                                                   1818 Market Street, Suite 3600
                                                      Philadelphia, PA 19103
                                                        Tel: (215) 875-4687
                                                       Fax: (215) 875-4604
                                                     Email: agrayson@bm.net
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                           CONSENT TO JOIN AND AUTHORIZATION TO REPRESENT
                                   Pursuant to the Fair Labor Standards Act, 29 U.S.C. § 216(b)

                    1.       I consent and agree to pursue my claims under the Fair Labor Standards Act, 29 U.S.C.
            §§201, et seq. (“FLSA”) arising out of my work with Amazon.com, LLC, Amazon Logistics, Inc., Trinity
            Couriers and/or related entities and individuals (“Amazon/Trinity”).

                      2.                                                   Oct 2018
                             I worked for Amazon/Trinity from on or about ___________________ (month, year) to
                        July 4 2018
            on or about ___________________ (month, year). During this time, I worked for Amazon/Trinity in the
                                Ohio
            following state(s): ______________________________________________________.

                     3.     I understand that this lawsuit is brought under the FLSA. I hereby consent, agree, and
            “opt in” to become a plaintiff herein and to be bound by any judgment by the Court or any settlement of
            this action.

                   4.       I hereby designate Berger Montague PC, at 1818 Market Street, Suite 3600, Philadelphia,
            Pennsylvania 19103, and Willig, Williams & Davidson, at 1845 Walnut Street, Suite 2400, Philadelphia,
            PA 19103 (together “Plaintiff’s Counsel”), to represent me for all purposes in this action or any
            subsequent action against Amazon/Trinity.

                   5.        I also designate the named Plaintiff in this action, the collective action representative, as
            my agent to make decisions on my behalf concerning the litigation, including the method and manner of
            conducting this litigation, entering into settlement agreements, entering into an agreement with Plaintiff’s
            Counsel concerning attorneys’ fees and costs, and all other matters pertaining to this lawsuit.


            Signature:       _________________________________________________________________

            Date:            1/31/2019
                             _________________________________________________________________

            Name:            Monte flowers
                             _________________________________________________________________

            Address:

            Telephone:

            E-mail:                                      ___________________________________________


                                                 COMPLETE AND RETURN TO:
                                                   BERGER MONTAGUE PC
                                                      ATTN: Alex Grayson
                                                  1818 Market Street, Suite 3600
                                                     Philadelphia, PA 19103
                                                       Tel: (215) 875-4687
                                                      Fax: (215) 875-4604
                                                    Email: agrayson@bm.net
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                           CONSENT TO JOIN AND AUTHORIZATION TO REPRESENT
                                   Pursuant to the Fair Labor Standards Act, 29 U.S.C. § 216(b)

                    1.       I consent and agree to pursue my claims under the Fair Labor Standards Act, 29 U.S.C.
            §§201, et seq. (“FLSA”) arising out of my work with Amazon.com, LLC, Amazon Logistics, Inc., Trinity
            Couriers and/or related entities and individuals (“Amazon/Trinity”).

                      2.                                                    June/2018
                             I worked for Amazon/Trinity from on or about ___________________ (month, year) to
                         September/2018
            on or about ___________________ (month, year). During this time, I worked for Amazon/Trinity in the
                                 Cincinnati,Ohio
            following state(s): ______________________________________________________.

                     3.     I understand that this lawsuit is brought under the FLSA. I hereby consent, agree, and
            “opt in” to become a plaintiff herein and to be bound by any judgment by the Court or any settlement of
            this action.

                   4.       I hereby designate Berger Montague PC, at 1818 Market Street, Suite 3600, Philadelphia,
            Pennsylvania 19103, and Willig, Williams & Davidson, at 1845 Walnut Street, Suite 2400, Philadelphia,
            PA 19103 (together “Plaintiff’s Counsel”), to represent me for all purposes in this action or any
            subsequent action against Amazon/Trinity.

                   5.        I also designate the named Plaintiff in this action, the collective action representative, as
            my agent to make decisions on my behalf concerning the litigation, including the method and manner of
            conducting this litigation, entering into settlement agreements, entering into an agreement with Plaintiff’s
            Counsel concerning attorneys’ fees and costs, and all other matters pertaining to this lawsuit.


            Signature:       _________________________________________________________________

            Date:           2/1/2019
                            _________________________________________________________________

            Name:           Kenneth G Simpson
                            _________________________________________________________________

            Address:

            Telephone:

            E-mail:                                 _______________________________________________


                                                 COMPLETE AND RETURN TO:
                                                   BERGER MONTAGUE PC
                                                      ATTN: Alex Grayson
                                                  1818 Market Street, Suite 3600
                                                     Philadelphia, PA 19103
                                                       Tel: (215) 875-4687
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                                                    Email: agrayson@bm.net
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                           CONSENT TO JOIN AND AUTHORIZATION TO REPRESENT
                                    Pursuant to the Fair Labor Standards Act, 29 U.S.C. § 216(b)

                    1.       I consent and agree to pursue my claims under the Fair Labor Standards Act, 29 U.S.C.
            §§201, et seq. (“FLSA”) arising out of my work with Amazon.com, LLC, Amazon Logistics, Inc., Trinity
            Couriers and/or related entities and individuals (“Amazon/Trinity”).

                      2.                                                   06/2018
                             I worked for Amazon/Trinity from on or about ___________________ (month, year) to
                        09/208
            on or about ___________________ (month, year). During this time, I worked for Amazon/Trinity in the
                                Ohio
            following state(s): ______________________________________________________.

                     3.     I understand that this lawsuit is brought under the FLSA. I hereby consent, agree, and
            “opt in” to become a plaintiff herein and to be bound by any judgment by the Court or any settlement of
            this action.

                   4.       I hereby designate Berger Montague PC, at 1818 Market Street, Suite 3600, Philadelphia,
            Pennsylvania 19103, and Willig, Williams & Davidson, at 1845 Walnut Street, Suite 2400, Philadelphia,
            PA 19103 (together “Plaintiff’s Counsel”), to represent me for all purposes in this action or any
            subsequent action against Amazon/Trinity.

                   5.        I also designate the named Plaintiff in this action, the collective action representative, as
            my agent to make decisions on my behalf concerning the litigation, including the method and manner of
            conducting this litigation, entering into settlement agreements, entering into an agreement with Plaintiff’s
            Counsel concerning attorneys’ fees and costs, and all other matters pertaining to this lawsuit.


            Signature:       _________________________________________________________________

            Date:            2/1/2019
                             _________________________________________________________________

            Name:            Erianna Turner
                             _________________________________________________________________

            Address:

            Telephone:

            E-mail:                                      ____________________________________________


                                                  COMPLETE AND RETURN TO:
                                                    BERGER MONTAGUE PC
                                                       ATTN: Alex Grayson
                                                   1818 Market Street, Suite 3600
                                                      Philadelphia, PA 19103
                                                        Tel: (215) 875-4687
                                                       Fax: (215) 875-4604
                                                     Email: agrayson@bm.net
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                           CONSENT TO JOIN AND AUTHORIZATION TO REPRESENT
                                    Pursuant to the Fair Labor Standards Act, 29 U.S.C. § 216(b)

                    1.       I consent and agree to pursue my claims under the Fair Labor Standards Act, 29 U.S.C.
            §§201, et seq. (“FLSA”) arising out of my work with Amazon.com, LLC, Amazon Logistics, Inc., Trinity
            Couriers and/or related entities and individuals (“Amazon/Trinity”).

                      2.                                                   04-08-2018
                             I worked for Amazon/Trinity from on or about ___________________ (month, year) to
                        9-01-2018
            on or about ___________________ (month, year). During this time, I worked for Amazon/Trinity in the
                                Ohio
            following state(s): ______________________________________________________.

                     3.     I understand that this lawsuit is brought under the FLSA. I hereby consent, agree, and
            “opt in” to become a plaintiff herein and to be bound by any judgment by the Court or any settlement of
            this action.

                   4.       I hereby designate Berger Montague PC, at 1818 Market Street, Suite 3600, Philadelphia,
            Pennsylvania 19103, and Willig, Williams & Davidson, at 1845 Walnut Street, Suite 2400, Philadelphia,
            PA 19103 (together “Plaintiff’s Counsel”), to represent me for all purposes in this action or any
            subsequent action against Amazon/Trinity.

                   5.        I also designate the named Plaintiff in this action, the collective action representative, as
            my agent to make decisions on my behalf concerning the litigation, including the method and manner of
            conducting this litigation, entering into settlement agreements, entering into an agreement with Plaintiff’s
            Counsel concerning attorneys’ fees and costs, and all other matters pertaining to this lawsuit.


            Signature:       _________________________________________________________________

            Date:            2/3/2019
                             _________________________________________________________________

            Name:            Carlo Gilbert
                             _________________________________________________________________

            Address:

            Telephone:

            E-mail:                                          __________________________________________


                                                 COMPLETE AND RETURN TO:
                                                   BERGER MONTAGUE PC
                                                      ATTN: Alex Grayson
                                                  1818 Market Street, Suite 3600
                                                     Philadelphia, PA 19103
                                                       Tel: (215) 875-4687
                                                      Fax: (215) 875-4604
                                                    Email: agrayson@bm.net
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                           CONSENT TO JOIN AND AUTHORIZATION TO REPRESENT
                                   Pursuant to the Fair Labor Standards Act, 29 U.S.C. § 216(b)

                    1.       I consent and agree to pursue my claims under the Fair Labor Standards Act, 29 U.S.C.
            §§201, et seq. (“FLSA”) arising out of my work with Amazon.com, LLC, Amazon Logistics, Inc., Trinity
            Couriers of Houston, Inc. and/or related entities and individuals (“Amazon/Trinity Houston”).

                      2.                                                           September 2017
                             I worked for Amazon/Trinity Houston from on or about ___________________ (month,
                                  September 2018
            year) to on or about ___________________ (month, year). During this time, I worked for
            Amazon/Trinity Houston in the following state(s):
             Texas
            ______________________________________________________.

                     3.     I understand that this lawsuit is brought under the FLSA. I hereby consent, agree, and
            “opt in” to become a plaintiff herein and to be bound by any judgment by the Court or any settlement of
            this action.

                   4.       I hereby designate Berger Montague PC, at 1818 Market Street, Suite 3600, Philadelphia,
            Pennsylvania 19103, and Willig, Williams & Davidson, at 1845 Walnut Street, Suite 2400, Philadelphia,
            PA 19103 (together “Plaintiff’s Counsel”), to represent me for all purposes in this action or any
            subsequent action against Amazon/Trinity Houston.

                   5.        I also designate the named Plaintiff in this action, the collective action representative, as
            my agent to make decisions on my behalf concerning the litigation, including the method and manner of
            conducting this litigation, entering into settlement agreements, entering into an agreement with Plaintiff’s
            Counsel concerning attorneys’ fees and costs, and all other matters pertaining to this lawsuit.


            Signature:       _________________________________________________________________

            Date:           3/25/2019
                            _________________________________________________________________

            Name:            Frederich Ponder
                             _________________________________________________________________

            Address:

            Telephone:

            E-mail:                                      ___________________________________________


                                                 COMPLETE AND RETURN TO:
                                                   BERGER MONTAGUE PC
                                                      ATTN: Alex Grayson
                                                  1818 Market Street, Suite 3600
                                                     Philadelphia, PA 19103
                                                       Tel: (215) 875-4687
                                                      Fax: (215) 875-4604
                                                    Email: agrayson@bm.net
